 Case: 2:20-cv-04287-ALM-KAJ Doc #: 378 Filed: 10/30/24 Page: 1 of 3 PAGEID #: 9543




                             UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF OHIO

                                  EASTERN DIVISION

 In re FIRSTENERGY CORP. SECURITIES       )     No. 2:20-cv-03785-ALM-KAJ
 LITIGATION                               )
                                          )     CLASS ACTION
                                          )
 This Document Relates To:                )     Judge Algenon L. Marbley
                                          )     Magistrate Judge Kimberly A. Jolson
          ALL ACTIONS.                    )
                                          )


  NOTICE OF FILING OF LEAD PLAINTIFF MOVANT-VICTIM’S MOTION AND BRIEF
        TO (1) CLARIFY OR, IN THE ALTERNATIVE, MODIFY APRIL 24, 2024
  CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER AND (2)
                               SET TRIAL DATE

MURRAY MURPHY MOUL                            ROBBINS GELLER RUDMAN
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Liaison Counsel                               Class Counsel




 4869-7131-1604.v1
Case: 2:20-cv-04287-ALM-KAJ Doc #: 378 Filed: 10/30/24 Page: 2 of 3 PAGEID #: 9544




         TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD

         PLEASE TAKE NOTICE THAT, on October 30, 2024, Lead Plaintiff Los Angeles County

Employees Retirement Association filed Movant-Victim’s Motion and Brief to (1) Clarify or, in the

Alternative, Modify April 24, 2024 Confidentiality Agreement and Stipulated Protective Order and

(2) Set Trial Date in the following criminal cases: (1) State v. Dowling, No. CR-2024-02-0473-B

(Summit Cnty. C.P.); (2) State v. Jones, No. CR-2024-02-0473-C (Summit Cnty. C.P.); (3) State v.

IEU-Ohio Administration Co. LLC, No. CR-2024-02-0473-D (Summit Cnty. C.P.); and (4) State v.

Sustainability Funding Alliance of Ohio, Inc., No. CR-2024-02-0473-E (Summit Cnty. C.P.). See

Exhibit A.

DATED: October 30, 2024                       MURRAY MURPHY MOUL + BASIL LLP
                                              JOSEPH F. MURRAY, Trial Attorney (0063373)


                                                             s/ Joseph F. Murray
                                                            JOSEPH F. MURRAY

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4869-7131-1604.v1
Case: 2:20-cv-04287-ALM-KAJ Doc #: 378 Filed: 10/30/24 Page: 3 of 3 PAGEID #: 9545




                                  CERTIFICATE OF SERVICE

         I hereby certify that the foregoing was filed electronically on October 30, 2024. Notice of

this filing will be sent to all electronically registered parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                                                     s/ Joseph F. Murray
                                                     Joseph F. Murray (0063373)




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